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MAR 3 1 2017
lN THE UNITED sTATES DISTRICT COURT FOR THE
WESTER.N DISTRICT oF ARKANSAS D£UGW F. YOUNG, cm

 

EL DORADO DIVISION mm
BRIAN SKENDER, ga PLAINTIFF
v _ § <i'
vs. Case No: i '} ic 3 '->
C. MARSHALL FRIEDMAN, P.C.,
C. MARSHALL FRIEDMAN and
KENNETH E. RUDD, JOlNTLY AND SEVERALLY DEFENDANTS

]N THE C[RCUIT COURT OF ASHLEY COUNTY, ARKANSAS

CIVIL DIVISION
BRIAN SKENDER, PLAINTIFF
vs. Case No: CV-2017-042-1
C. MARSHALL FRIEDMAN, P.C.,
C. MARSHALL FRIEDMAN and
KENNETH E. RUDD, JO]NTLY AND SEVERALLY DEFENDANTS
NOTICE OF REMOVAL

 

TO TI-HE CLER_K OF TI-IEI ABOVE ENTITLED COURT:

PLEASE TAKE NOTICE that defendants, C. Marshall Friedman, P.C., C. Marshall
Fn`edrnan, and Kenneth E. Rudd, Jointly and Severally, hereby remove to this Court the state
court action described below.

1. That on or about March 6, 2017, an action Was commenced by Plaintiff, Brian
Skender, through counsel, in the Cirouit Court of Ashley County, Arkansas, styled Brian
Skender, Plaintiff, vs. C. Marshall Friedlnan, P.C., C. Marshall Friedman, and Kenneth E. Rudd,
Jointly and Severally, as Defendants, Case No. CV-2017-042-1.

2. Defendants Were served With Summons and Complaint on or about March 14,

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2017. Pursuant to 28 U.S.C. § 1446(a) this Notice has been timely filed. A copy of the process
of service, the complaint, and all other pleadings served on Defendants in the state court action
are attached hereto and referred to herein as Exhibit “A”.
3. This action is a civil action Which this Court has jurisdiction over pursuant to 28
U.S.C. § l332(a) in that there is complete diversity of the parties and the amount in controversy
exceeds the minimum amount for Federal diversity jurisdiction
WHEREFORE, Defendants, C. Marshall Friedman, P.C., C. Marshall Friedman, and
Kenneth E. Rudd, pray that this action be removed to the United States District Court for the
Western District of Arkansas, El Dorado Division.
Dated this 22“d of March, 2017.
C. Marshall Friedman, P.C.,
C. Marshall Friedman and
Kenneth E. Rudd, Defendants
ROBERTSON, BEASLEY, SHIPLEY
& ROB]NSON, PLLC
315 N. 7“‘ Street
P. O. Drawer 848
Fort Smith, AR 72903-0848

PH: (479) 782-8813
Fax; (479) 785-0254

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aimed F.”Anguio, Jr. "
State Bar No. 81003
Attomey for Defendants

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CERTIFICATE OF SERVICE

I, Alfred F. Angulo, Jr., hereby certify that l have this 30th day of March, 2017, served a true
and correct copy of the above and foregoing pleading upon the opposing counsel by placing same
in the U.S. Mail, postage pre-paid, addressed as follows:

Sandra C. Bradshaw
P. O. Box 249

215 Main Street
Crossett, AR 71635

John Ogles

Ogles Law Firm, P.A.
200 S. Jeff Davis

P. O. Box 891
Jacksonville, AR 72078

 

Alfred . Angulo, Jr.

